                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

DR. JOSEPH CICCIO, et al.,                        )
                                                  )   Civil Action No.: 3:19-cv-00845
        Plaintiffs,                               )
                                                  )   Judge Aleta A. Trauger
v.                                                )
                                                  )
SMILEDIRECTCLUB, LLC., et al.,                    )
                                                  )   JURY DEMAND
        Defendants.                               )

                         MOTION FOR ADMISSION PRO HAC VICE

        Pursuant to Rule 83.01 of the Local Rules of Court for the United States District Court

Middle District of Tennessee, David A. Rammelt hereby moves for admission to appear pro hac

vice in the above-captioned action as counsel for Defendants SmileDirectClub, LLC, David

Katzman, Steven Katzman, Alexander Fenkell, Dr. Jeffrey Sulitzer, and Camelot Venture Group.

        Pursuant to 29 U. S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct:

       1.     I am a member in good standing of the bar for the United States District Court for
the Northern District of Illinois. Attached is a Certificate of Good Standing from that court.

        2.     I am not, nor have I ever been, the subject of disciplinary proceedings by any
disciplinary authority, court, or tribunal.

        3.      I have not been found in contempt by any court or tribunal.

        4.      I have not been sanctioned pursuant to 28 U.S.C. § 1927.

       5.     I have never been censured, suspended, disbarred, or denied admission or
readmission by any court or tribunal.

        6.      I have not been charged, arrested, or convicted of a criminal offense or offenses.

        7.     I have read and am familiar with Local Rules for the United States Court Middle
District Tennessee. all rules of this Court and agree to confer disciplinary jurisdiction upon this
Court for any alleged misconduct arising in the course of this proceeding.




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       8.       By seeking admission to practice before this Court, I acknowledge my
responsibility for compliance with all rules of this Court and confer disciplinary jurisdiction upon
this Court for any alleged misconduct arising in the course of the proceeding.



                                                     /s/ David A. Rammelt
                                                     David A. Rammelt

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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was served on the

below via the Court’s ECF Filing System this 4th day of December 2020.




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                                             /s/ John R. Jacobson




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